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UNITED STATES BANKRUPTCY COURT
DISTRICT OF

 

In re Donna Bames Case No. 19-20400

 

 

 

 

Debtor Reporting Period: 4/1/19-4/30/19
Social Security # 5836
(last 4 digits only)

MONTHLY OPERATING REPORT
(INDIVIDUAL WAGE EARNERS)

File with the Court and submit a copy to the United States Trustee within 20 days after the end of the
month and submit a copy of the report to any official committee appointed in the case.

(Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the

end af the month, as are the reports for Southern District of New York )

REQUIRED DOCUMENTS Form No. Document Explanation

Attached Attached
Schedule of Cash and Disbursements

Bank Reconciliation (or copies of debtor's bank MOR-1 (CONT)
reconciliations)

es of bank statements
Disbursement Journal
Balance Sheet
Copies of tax retums filed
Summary of Post Debts
tatus of
it onnaire

 

I declare under penalty of perjury (28 U.S.C. Section 1746) that the documents attached to this report are true and
correct to the best of my kn pe and tei a
Signature of Debtor ) ) Date 5S | |

=> =
Signature of Joint Debtor Se Date

FORM MOR (INDV)
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In re Donna Barnes Case No. 19-20400
Debtor Reporting Period: 4/1/19-4/30/19

INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS

(This Form must be submitted for each bank account maintained by the Debtor)

Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending
cash from the prior month or, if this is the first report, the amount should be the balance on the date the petition was
filed. Attach the bank statements and a detailed list of all disbursements made during the report period that includes
the date, the check number, the payee, the transaction description, and the amount. A bank reconciliation must

be attached for each account. [See MOR-1 (CONT)]

Cash - ning of Month
RECEIPTS

Interest and Dividend Income

Al and Child S

Social Security and Pension Income
Sale of Assets

Other Income (attach schedul

Total Receipts

Mort
Rental P s
Other Secured Note Pa
Utilities 1485.25
Insurance
Auto
Lease P ents
IRA Contributions
Repairs and Maintenance
Medical
F Clo iene
Charitable Contributions
Alim and Child S P ents
Taxes - Real Estate
Taxes - Personal P
Taxes - Other (attach schedul
Travel and Entertainment
Gifts
Other (attach schedul
Total Ordin Disbursements

Professional Fees
U. S. Trustee Fees

Other : Checks for DIP Account
Total ization Items

Total Disbursements anizati

 

FORM MOR-1 (INDV)

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In re Donna Barmes Case No. 19-20400
Reporting Period: 4/1/19-4/30/19

   

   
  
   
 

   

 

Net Cash Flow (Total Receipts - Total Disbursements

a - ——— ——=

Cash - End of Month (Must equal reconciled bank
statement)

 

 

INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
(continuation sheet)

t from JRB

Dog Food

Tennis

 

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

 

 

 

TOTAL DISBURSEMENTS 2622.2
LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION ACCOUNTS 9
PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. 9

Liton escrow accounts)

 

 

 

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In re Donna Bames Case No. 19-20400
Debtor Reporting Period: 4/1/19-4/30/19
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE 2622.2

 

UARTERLY FEES

 

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Donna Barnes
Debtor

BANK RECONCILIATIONS

Continuation Sheet for MOR-1

A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

Case No.
Reporting Period: 4/1/19-4/30/19

19-20400

SEE ATTACHED

 

Operating

Payroll

Tax

Other

 

BALANCE PER BOOKS

BANK BALANCE

 

(+) DEPOSITS IN
TRANSIT (ATTACH LIST)

 

(-) OUTSTANDING
CHECKS (ATTACH LIST):

 

OTHER (ATTACH
EXPLANATION)

 

 

 

ADJUSTED BANK
BALANCE *

 

 

 

 

 

 

*"Adjusted Bank Balance" must equal "Balance per Books

IN TRAD Date.

CHECKS OUTSTANDING

OTHER

Amount

Amount

 

 

 

 

 

 

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FORM MOR-1 (CONT)
2/2008
America’s Most Conveniant Bank®?

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DONNA J BARNES

DIP CASE 19-20400 DIST CT
145 DEERCLIFF RD

AVON CT 06001 .

 

Balance

   
    
 

 

 
  

$28,557.03

  

$300.00

    

eS URE Rae ANSI enn oranda tere trewedlan ccm te
; ese MONI on ett Seat pe Ob
i ah ite este tae $28,232.03

$27,468.37

        
 

05/10/2019 $342.59 $26,787.38

   

 

112

Check Transactions
Number Date Amount Number Date Amount Number Date Amount
101 4/19/2019 $348.19
102 © 4/24/2019 $373.40
103 4/29/2019 $763.66
105 4/19/2019 $500.00
107 4/26/2019 $325.00
108 4/25/2019 $300.00
110 5/8/2019 $338.40
412 5/10/2019 $342.59

Pape | af
a1 By, 19-20400 Doc43 Filed 05/23/19 Entered 05/23/19 15:10:02 Page 7 of 16
cali

America’s Mast Convenient Bank®

DONNA J BARNES
DIP CASE 19-20400 DIST CT
145 DEERCLIFF RD

AVON CT 06001

 

Transactions By Date
Date Description Debit Credit Balance

          

    
  
 

  
  

  
  
 

  

HARLAND CLARKE CHK ORD

HE st!

04/12/2019 ERS $11.95 $10,078.62

Pace 1 af 1
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In re Donna Barnes
Debtor

sunoco
mobile
mobile

Ocean State Job Lot
M

Big T

M

taco bell

Anna's
Avie's

Total

 

Case No. 19-20400
Reporting Period: 4/1/19-4/10/19

 

 

DISBURSEMENT JOURNAL

CASH DISBURSEMENTS
Purpose -

dog food
cleaning items
ene

food/h

food

food

hair cut Ben
Regrip Ben R

720.91] *subtract

$500.00 accounted for below; this money was used for cash items listed above after 5/18 220.91

ACCOUNT DISBURSEMENTS
Date
15-Apr| Comcast
15-Apr]| Eversource
15-Apr| National Grid
18-Apr}| Donna Barnes

r-19|US Trustee

24-Apr|Luxbond Green
12-Apr| TD Bank Debit

| Bank Account Disbursements

 

Purpose Amount Check #
cable/wifi/phone 348.19 101
electric-ct 373.4 102
electric-ri 763.66 103
cash 500 105
fees 325 107
Appraisals 300 108
DIP checks 11.95| Debit

2622.2

FORM MOR-2 (INDV)
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In re Donna Barnes Case No. 19-20400
Debtor Reporting Period: 4/1/19-4/10/19
| Disbursements for the Month | | 2843.11]

 

FORM MOR-2 (INDV)
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In re Case No.
Debtor Reporting Period:

BALANCE SHEET
The Balance Sheet is to be completed on an accrua! basis only. Pre-petition liabilities must be classified separately from
post-petition obligations.

 

 

ASSETS BOOK VALUE AT END OF BOOK VALUE ON PETITION
CURRENT REPORTING DATE OR SCHEDULED
MONTH AMOUNT

 

 

 

 

A
Residence
145 Deercliff 2,000,000
33 B 11
Cabana 29 1
P attach schedul
TOTAL REAL PROPERTY ASSETS 13,130,000.
B PERS PR
Cash on Hand 161.1
Bank Accounts 27468.3
Securi its
Household Goods & F
B Pi Art
Wearl
Furs and J
Firearms & S
Insurance Policies
Annuities
Education IRAs
Retirement & Profit $
Stocks
Partnerships & Joint Ventures
Government & Bonds
Accounts Receivable
Alim or settlements
Other Liquidated Debts
table Interests in Schedule A
Con Interests
Other Claims
Patents &
Licenses & Franchises
Customer Lists
Ticks & Other Vehicles
Boats & Motors
Aircraft
Office ent
i Li ipment used for business

Animals

F
Farm Supplies

Other Personal ‘attach (INDV)
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In re

 

Debtor

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Reporting Period:

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TOTAL PERSONAL PROPERTY

243399.56

 

 

 

 

 

13130000

 

TOTAL ASSETS

NOTE: As indicated previously (e.g., Chapter 11 schedules and/or monthly operating

report), certain assets are co-owned.

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In re Case No.
Debtor Reporting Period:
LIABILITIES AND OWNER EQUITY BOOK VALUE ATEND OF BOOK VALUE ON PETITION
CURRENT REPORTING DATE OR SCHEDULED
MONTH AMOUNT

 

 

 

 

 

ILITIES CT TO COM ISE
Federal Income Taxes (not deducted from es
FICA/Medicare (not deducted from

State Taxes (not deducted from

Real Estate Taxes

Other Taxes (attach s

TOTAL TAXES

Professional Fees

Other Post-petition Liabilities (ist creditors

 

 

TAL POST-PETITION LIABILITIES

SUBJECT TO COMPROMISE (.
Secured Debt 15,971,83
Priority Debt

  

Unsecured Debt 102453
TOTAL PRE-PETITION LIABILITIES 16074285,

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Debtor Reporting Period:

 

| TOTAL LIABILITIES | 16074285.8] }

FORM MOR-3 (INDV)
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In re Donna Barnes Case No. 19-20400
Debtor Reporting Period: 4/1/19-4/30/19

SUMMARY OF UNPAID POST-PETITION DEBTS

Number of Days Past Due

Current 0-30 31-60 61-90 Over 91 Total
M 60,322.7 60,322.75

Rent

Secured Debt/Adequate Protection
Pa

Professional Fees

Other Post-Petition debt (list creditor,

   

Total Post-petition Debts 7

Explain how and when the Debtor intends to pay any past due post-petition debts.

Husband, who was sole income provider, is filing a Chapter 11 Bankruptcy for his business. Through this
restructuring, income will be coming into the household. The debtor also plans to work for the restructured
company, will generate income from a rental property and will obtain other work if necessary.

 

 

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Debtor Reporting Period: 4/1/19-4/30/19
POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS
SCHEDULED ; : ;
MONTHLY AMOUNT PAID TOTAL UNPAID POST-
NAME OF CREDITOR PAYMENT DUE | DURING MONTH PETITION)
UBS CT 5062.75 0 10,125.50] +
UBS VT 5260 0 10,520.00] «
Shemcreek 50,000 0 100,000.00] *
TOTAL PAYMENTS 0
*Co Borrower James R. Barnes
INSTALLMENT PAYMENTS

TYPE OF CY

 

PAYMENT AMOUNT &

FORM MOR‘S (INDV)
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13

 

Debtor

DEBTOR QUESTIONNAIRE

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Case No. 19-20400
Reporting Period: 4/1/19-4/30/19

 

Must be completed each month. If the answer to any of the
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

Yes

No

 

, Have any funds been disbursed from any account other than a debtor in

possession account this reporting period?

 

Is the Debtor delinquent in the timely filing of any post-petition tax
returns?

 

Are property insurance, automobile insurance, or other necessary
insurance coverages expired or cancelled, or has the debtor received
notice of expiration or cancellation of such policies?

 

Is the Debtor delinquent in paying any insurance premium payment?

 

Have any payments been made on pre-petition liabilities this reporting
period?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Have any post petition loans been been received by the Debtor from
any party?

 

Is the Debtor delinquent in paying any U.S. Trustee fees?

 

 

Is the Debtor delinquent with any court ordered payments to attorneys
or other professionals?

 

 

 

 

FORM MOR-6 {INDV)
2/2008
